                      IN THE UNITED STATES COURT OF APPEALS
                              FOR THE EIGHTH CIRCUIT


 STATE OF KANSAS, et al.,

                         Plaintiffs-Appellees,

                 v.                                                       No. 24-3521

 UNITED STATES OF AMERICA, et al.,

                         Defendants-Appellants.


                      MOTION TO HOLD APPEAL IN ABEYANCE

       Pursuant to Federal Rule of Appellate Procedure 27, defendants-appellants the

United States of America and the Centers for Medicare & Medicaid Services (CMS)

respectfully move to extend the abeyance of this appeal pending further rulemaking.*

       1. This appeal concerns a challenge to a final rule issued by CMS in 2024 that,

among other things, states that recipients of deferred action under the Deferred

Action for Childhood Arrivals program are considered “lawfully present in the United

States” for certain purposes under the Affordable Care Act (ACA) and consequently

may be eligible to obtain health insurance on an ACA exchange and to receive certain

federal subsidies. Kansas and 18 other States challenged the rule as unlawful, and the

district court issued a preliminary injunction and stay of the effective date of the rule

within the 19 plaintiff States. The federal government appealed the district court’s


       *   Counsel for plaintiffs-appellees have stated that they oppose this request.
order, and the parties filed opening and response briefs pursuant to the expedited

schedule this Court ordered on December 23, 2024.

       2. On February 11, 2025, the federal government filed a consent motion to

hold this appeal in abeyance for 60 days to allow new agency officials to evaluate the

issues presented in the case. The Court granted that motion on February 24.

       3. On March 19, 2025, CMS published in the Federal Register a notice of

proposed rulemaking to “modify the definition of ‘lawfully present’ ” to “exclude

DACA recipients from the definition” of that term as it is used in the ACA. 90 Fed.

Reg. 12,942, 13,010 (Mar. 19, 2025). The proposed rule would effectively rescind the

agency action challenged in this litigation.

       4. The comment period on the proposed rule closed on April 11, 2025, and

CMS could act anytime to finalize the rulemaking. If it adheres to its proposal, CMS

could issue a final rule amending the challenged rule before the Court would enter a

decision in this case. If CMS finalizes the proposed rule, this appeal—as well as the

underlying case in district court—would become moot. See Franciscan Alliance, Inc. v.

Becerra, 47 F.4th 368, 374 (5th Cir. 2022) (“When a challenged rule is replaced with a

new rule, the case is moot so long as the change gives ‘the precise relief that

petitioners requested.’ ”); Friends of Animals v. Bernhardt, 961 F.3d 1197, 1203 (D.C. Cir.

2020) (“[T]he government’s abandonment of a challenged regulation is just the sort of




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development that can moot an issue.”). In that eventuality, any further party or Court

resources devoted to this appeal would be wasted.

      5. Because CMS’s forthcoming actions may obviate the need for this Court to

address the merits of this preliminary-injunction appeal—or prevent the Court from

doing so due to mootness—the federal government respectfully suggests that the

abeyance of this appeal be extended pending final action on the new proposed rule.

Such an abeyance will conserve party and judicial resources and promote the efficient

and orderly disposition of this appeal. Furthermore, plaintiffs would not suffer any

harm from an abeyance because the preliminary injunction will remain in effect—and

the challenged rule will not be in effect in the plaintiff States—during that time.

      6. The government respectfully proposes to update the Court with status

reports every 60 days or on a schedule this Court orders.




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                                 CONCLUSION

      For the foregoing reasons, defendants-appellants respectfully request that the

abeyance of this appeal be extended pending further rulemaking.

                                                 Respectfully submitted,

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                                                  s/ Joshua M. Koppel
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APRIL 2025




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                       CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because it contains 575 words. This motion also complies with

the typeface and type-style requirements of Federal Rule of Appellate Procedure

27(d)(1)(E) because it was prepared using Word for Microsoft 365 in Garamond 14-

point font, a proportionally spaced typeface.

      Pursuant to Circuit Rule 28A(h)(2), I further certify that the motion has been

scanned for viruses, and the motion is virus free.



                                                  s/ Joshua M. Koppel
                                                 Joshua M. Koppel
                          CERTIFICATE OF SERVICE

      I hereby certify that on April 22, 2025, I electronically filed the foregoing

motion with the Clerk of the Court for the United States Court of Appeals for the

Eighth Circuit by using the appellate CM/ECF system. Service will be accomplished

by the appellate CM/ECF system.



                                                  s/ Joshua M. Koppel
                                                 Joshua M. Koppel
